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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 0:24-cv-60382-LEIBOWITZ/AUGUSTIN-BIRCH


  JESSICA PIAFSKY,

        Plaintiff,

  v.

  MB HOME IMPROVEMENTS INC., et al. ,

        Defendants.
  ___________________________________________/

                             ORDER SCHEDULING MEDIATION

        The mediation conference in this matter shall be held as follows:

        Mediator:        Barry L. Davis

        Date:            November 6, 2024

        Time:            10:00 a.m. ET

        Location:        Via Zoom

        DONE AND ORDERED in the Southern District of Florida on August 20, 2024




  cc:   counsel of record
